Case 18-68220-pmb            Doc 7      Filed 11/01/18 Entered 11/01/18 14:00:57                      Desc Main
                                        Document Page 1 of 1
                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


                                                     )
   In re                                             )     Chapter 7
                                                     )
   DUWAN PITTMAN,                                    )     Case No. 18-68220-pmb
   Debtor(s)                                         )
                                                     )     BANKRUPTCY JUDGE
                                                     )     PAUL M BAISIER




                     REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
               FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

  PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

  Bank (CareCredit [Last four digit of account:0564]), a creditor in the above-captioned chapter 7 case,

  requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the Bankruptcy

  Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.

  (as amended, the Bankruptcy Code), that all notices given or required to be given and all papers served or

  required to be served in this case be also given to and served, whether electronically or otherwise, on:


               Synchrony Bank
               c/o PRA Receivables Management, LLC
               PO Box 41021
               Norfolk, VA 23541
               Telephone: (877) 829-8298
               Facsimile: (757) 351-3257
               E-mail: claims@recoverycorp.com


  Dated: Norfolk, Virginia
  November 1, 2018
                                                         By: /s/ Valerie Smith
                                                         Valerie Smith
                                                         c/o PRA Receivables Management, LLC
                                                         Senior Manager
                                                         PO Box 41021
                                                         Norfolk, VA 23541
                                                         (877) 829-8298

  Assignee Creditor: CareCredit [Last four digit of account:0564]
